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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 19-21588-CIV-MORENO

MALVAR FREIGHT FORWARDING, LLC
and DIAZ HOLDINGS 4141, LLC,

Plaintiffs,

vs.
SCOTTSDALE INSURANCE COMPANY,

Defendant.
/

 

ORDER GRANTING BY DEFAULT DEFENDANT’S
MOTION TO DISMISS AND TO STRIKE

THIS CAUSE came before the Court upon Defendant Scottsdale Insurance Company’s
Motion to Dismiss and to Strike (D.E. 5), filed on May 2, 2019. Defendant’s Motion requests that
the Court dismiss Plaintiffs’ declaratory relief claim in Count II on grounds the claim is duplicative
of the breach of contract claim in Count I. /d. at 2. Defendant’s Motion also requests that the
Court strike certain pargraphs of Plaintiffs’ Complaint. Jd. at 3. Specifically, the Motion asks the
Court to strike: (1) paragraph 7 “to the extent it alleges that the property is Plaintiffs’ ‘home’”; (2)
paragraph 16 “to the extent it seeks fees under Fla. Stat. § 627.428”; and (3) paragraph 17 “to the
extent it seeks ‘expert fees’ and ‘replacement of said home.’” Jd.

THE COURT has considered the motion, the pertinent portions of the record, and is
otherwise fully advised in the premises.

Plaintiffs’ deadline to respond to Defendant’s Motion to Dismiss and to Strike was
May 16, 2019. See Local Rule 7.1(c) (“For all motions . . . each party opposing a motion shall

serve an opposing memorandum of law no later than fourteen (14) days after service of the

 

 
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motion.”). To date, Plaintiff has failed to respond to Defendant’s Motion to Dismiss and to Strike.
Accordingly, it is

ADJUDGED that the Motion to Dismiss and to Strike is GRANTED BY DEFAULT
pursuant to Local Rule 7.1(c). Accordingly, Count II is DISMISSED without prejudice, and
paragraphs 7, 16, and 17 of Plaintiffs’ Complaint (D.E. 1) are STRICKEN as outlined above. See
Sauve v. Lamberti, 247 F.R.D. 703, 704 (S.D. Fla. 2008) (granting by default motion to dismiss
and motion to strike for failure to serve an opposing memorandum of law in violation of Local
Rule 7.1(c)); Pierre v. Catalina Hotel, LLC, No. 16-25300-CIV, 2017 WL 7805574, at *2 (S.D.
Fla. Feb. 10, 2017) (granting by default motion to dismiss and dismissing case without prejudice
for failure to serve an opposing memorandum of law in violation of Local Rule 7.1(c)).
Furthermore, it is

ADJUDGED that Defendant answer Plaintiffs’ Complaint no later than June 3, 2019.
Because the Court grants Defendant relief precisely as requested, the Court does not find it

necessary to require Plaintiffs to file an amended complaint.

         

DONE AND ORDERED in Chambers at Miami, Florida, this of May 2019

Copies furnished to:

Counsel of Record

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